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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
v. MAGISTRATE NO. 22-MJ-262
BRYAN SMITH, : VIOLATIONS:
Defendant. : 18 U.S.C. § 231(a)3)
: (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and 2
(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, BRYAN SMITH, committed

and attempted to commit an act to obstruct, impede, and interfere with a law enforcement officer
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lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, between at or around 2:49 p.m. to 3:18 p.m., within the
District of Columbia, BRYAN SMITH, did forcibly assault, resist, oppose, impede, intimidate,
and interfere with, an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), while such officer or
employee was engaged in or on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Assaulting, Resisting, or Impeding Certain Officers and Aiding and Abetting, in
violation of Title 18, United States Code, Sections 111(a)(1) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, BRYAN SMITH did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stun gun

or other electroshock weapon.
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(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH, did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of

Title 18, United States Code, Section 1752(a)(4))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH, willfully and
knowingly engaged in an act of physical violence within the United States Capitol Grounds and

any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
